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                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

    CAROLYN SMITH as TRUSTEE OF THE §
    SMITH FAMILY LIVING TRUST, THE  §
    VILLAGE AT HUNTERS CROSSING,    §
    L.L.C. and LIRTEX PROPERTIES, LLC
                                    §
                                    §
        Plaintiffs,                 §
                                    §
    vs.                             § CIVIL ACTION NO. 1:19-cv-1054-RP
                                    §
    THE CITY OF BASTROP, et al.,    §
                                    §
        Defendants.                 §
                      DEFENDANTS’ POST-TRIAL BRIEF

TO THE HONORABLE UNITED STATES DISTRICT JUDGE ROBERT PITMAN:

        COME NOW, Defendants City of Bastrop, Texas, Connie Schroeder, Willie Lewis “Bill”

Peterson, Drusilla Rogers, Lyle Nelson, Bill Ennis, Dock Jackson, Drusilla Rogers, Rick Womble,

Michelle Dodson, Lyle Nelson And Tabitha Pucek (“City Defendants”), and TF Hunters Crossing,

LP (combined “Defendants”), and file this their Post-Trial Brief, and would respectfully show as

follows:

                             I. SUMMARY OF THE RELEVANT EVIDENCE 1

        1.       The District Court correctly determined that the PID Act “contains no provision

prohibiting municipal governments from including interest in an assessment.” 2 Therefore, the trial

was not about whether the City could consider capitalized interest as a permissible cost component

in the 2003 levy (the Court determined that it could), but rather whether the City intended to levy

a capital assessment totaling $11.962 million or one only totaling $7.475 million.


1
         In compliance with the duty of candor to the Court, Defendants’ post-trial brief is not in the bullet-
point style originally desired. It started out that way, but phrases turned into sentences, which turned into
paragraphs.
2
         See Doc. #86, p. 11, Doc. #99, p. 3-4.
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       2.      The Court asked the parties to provide “[it] with sufficient information, factual or

otherwise, to determine the relevant monetary amount in the 2003 [levy].” 3 After two days of trial,

the overwhelming weight of the evidence reflects that the only logical interpretation of the 2003

Ordinance is that the City of Bastrop intended to levy a capital assessment totaling $11.962 million

dollars and that the 2019 Ordinance did not alter or adjust the amount of the 2003 levy. 4

       A.      The Amount of the 2003 Levy

       3.      The Court asked whether it should reference the 2003 levy “with or without

interest” in determining whether the 2019 Ordinance increased the amount of the 2003 levy. 5 The

overwhelming weight of the evidence reflects that the City of Bastrop relied upon the professional

expertise of Texas licensed civil engineers’ estimates of probable cost 6 (2003 SAP - Exhibit F,

Tables A-F) as a rational basis for its decision to levy a total capital assessment of $11.962 million

($7.356 million attributable to capital costs for commercial and multi-family development and

$4.597 million attributable to capital costs for single-family development). 7

       4.      In spite of the Court’s earlier ruling, Plaintiffs’ repeated contention that the City

was prohibited from permissibly considering “capitalized interest” as a cost component in the 2003

levy is both logically and evidentiarily flawed. 8 First, if the Legislature had intended to prohibit

cities from considering capitalized interest as a permissible cost in authorized public improvement

projects, 9 the PID Act would have included language expressly limiting its use. It does not and the


3
       Doc. #99 – Court Order, p. 2
4
       J-003 – 2003 Ordinance, p. 181, J-012 – 2019 Ordinance, p. COB3354.
5
       Doc. #99, p. 3.
6
       J-003, J-004 – 2003 Ordinance and SAP, Exhibit F - Tables A, B, C, D, E, F.
7
       J-004 – 2003 SAP, p. COB003.
8
       The Court rejected this contention in its order partially granting Defendants’ motion for summary
judgment, which is now the law of the case. See Doc. #86, p. 11, Doc. #99, p. 3-4.
9
       The PID Act sets forth a non-exclusive list of authorized public improvement projects. Tex. Loc.
Gov’t Code Ann. §372.003(b). Authorized projects include “acquiring, construct, improving, widening,


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Legislature did not restrict the meaning of the words “cost” or “acquisition” in the manner

Plaintiffs suggest, as both are used repeatedly by the Act (§§372.003(b), 372.015) without express

or contextual limitation. 10 The Court’s earlier ruling that the PID Act does not prohibit cities from

considering capitalized interest as a permissibly recoverable cost in an assessment is correct and

should stand. 11




narrowing, closing, or rerouting of sidewalks or of streets, any other roadways, or their rights-of-way” and
“acquisition, construction, or improvement of water, wastewater, or drainage facilities or improvements,”
among other items.
10
         Util. Air Regulatory Group v. E.P.A., 573 U.S. 302, 320, 134 S. Ct. 2427, 2441, 189 L. Ed. 2d 372
(2014) (fundamental canon of statutory construction that the words of statute must be read in their context
and with a view to their place in overall statutory scheme). Entergy Gulf States, Inc. v. Summers, 282
S.W.3d 433, 467 (Tex. 2009) (canons of statutory construction require courts to treat omissions of language
as meaningful and not meaningless).
11
         Plaintiffs pointed out during their closing that Defendants could offer no cases that stand for this
proposition of state law. While it is true that Texas courts have only rarely interpreted the PID Act, the
Texas Attorney General has had greater occasion to do so. While not conclusive determinations of state
law, they are persuasive authority. Kneeland v. Nat'l Collegiate Athletic Ass'n, 650 F. Supp. 1064, 1074
(W.D. Tex. 1986), rev'd on other grounds, 850 F.2d 224 (5th Cir. 1988). A recent AG opinion, while not
precisely on point to answer the specific question at issue here – is capitalized interest a permissibly
recoverable cost for a public improvement project – does offer insight into how the AG would interpret this
issue. See Opinion No. KP-0366. In that opinion, one of the issues was whether bond issuance costs could
permissibly be included in an assessment. Because these bonds were issued by an out-of-state issuer, this
complicated the analysis, but was central to the AG’s finding. Id. Noting that Section 372.023(h) permitted
the recovery of “all costs incurred in connection with the issuance of bonds,” the AG determined that the
Legislature intended to allow the recovery of such costs, but only if the bonds were issued by an issuer from
within the State and issued “under the provisions of Subtitles A and C, Title 9, Government Code” as set
forth in the PID Act. Id. Because the issuer was out-of-state and issued bonds that were not in compliance
with the relevant Government Code chapters, the AG determined that those bond costs are not recoverable,
although they would have been had the issuer been in-state. Id.
         Here, there is no question that the public improvements in the Hunters Crossing PID (see J-002,
Exhibit A) fall within the parameters of permissible projects under §372.003(b) and Plaintiffs have never
asserted otherwise. The AG’s analysis of permissible bond costs suggests that a similar analysis would be
applied to “acquiring, constructing [and] improving” roadways and the “acquisition, construction, or
improvement” of water, wastewater, and drainage facilities. See Tex. Loc. Gov’t Code Ann. §372.003(b)
(3), (9). Reading the phrase “costs of improvements” in Section 372.023 in conjunction with the non-
exclusive list of permissible public improvement projects in Section 372.003 yields but on logical
conclusion – the costs of acquiring real property and capital infrastructure material are universally known
to commonly include capitalized financing interest. Therefore, it was entirely permissible for the City to
consider the engineers’ estimates of capitalized interest in determining a reasonable assessment to levy in
2003. If the Legislature had intended to limit “costs of improvements” to exclude capitalized interest as
Plaintiffs suggest, it would have said so as it did with bond costs issued by out-of-state bond issuers.
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        5.      Second, the overwhelming weight of the evidence and the actual language of the

2003 Ordinance 12 and 2003 SAP reflect that the City approved a levy of $11.962 million by

projecting it would cost $7.365 million in capital costs attributable to commercial and multi-

family development and $4.597 million in capital costs attributable to single-family development

(totaling $11.962 million). 13 In justifying a total capital assessment of $11.962 million, all the

City must have is any conceivable rational basis to support this legislative act and the great weight

of the evidence reflects that the City had it in abundance. 14 The City based the amount of the 2003

capital assessment on multiple schedules of engineers’ estimates of probable cost, which estimated

a construction cost and a capitalized interest cost, but which could vary “based on actual

expenditures,” 15 because they were “based on engineers’ estimates [and] are approximate and

may increase or decrease.” 16

        It is on this factual record that the City ordained a levy of $11.962 million dollars and

placed a lien upon the 283-acre tract in 2003 and Plaintiffs’ contention that the levy was $7.475

million is not legislative “interpretation,” but rather legislative “rewriting.”




12
        J-003 – 2003 Ordinance, p. 175 – “Section 2 – The City Council finds that the assessments as set
forth in the attached Assessment/Service Plan (Exhibit “B”) should be made and levied against the
respective parcels of property within the PID and against the owners thereof…”
13
        J-003 – 2003 Ordinance, p. 175; J-004 – 2003 SAP, p. COB003.
14
        See FM Properties Operating Co., 93 F.3d 174–75 (5th Cir. 1996) (actual purpose that may have
motivated a legislative act’s proponents, (assuming this can be known) is irrelevant for rational basis
analysis; question is only whether rational relationship exists between the act and a conceivable legitimate
governmental objective) (emphasis in original).
15
        J-004 – 2003 SAP, p. COB031.
16
        J-004 – 2003 SAP, p. COB003.
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        6.      Third, this conclusion is strengthened by the levy’s enabling language, 17 which did

not differentiate between “hard” capital costs and “soft” capital costs, but simply referred to

“capital costs.” Again, Plaintiffs’ invitation to add language to legislative acts should be rejected. 18

Moreover, the overwhelming weight of the evidence reflects that capital improvements ultimately

cost well in excess of the total capital assessment levied, 19 as the 2003 Ordinance stated that they

might. 20 Therefore, because actual capital costs exceeded $11.962 million, 21 the issue of whether

the 2003 Ordinance levied a capital assessment with or without regard to $4.485 million in

estimated capitalized interest as a cost is academic.

        7.      Plaintiffs offered no credible evidence supporting their contention that the amount

of the 2003 levy was anything other than $11.962 million dollars. No witness offered any credible

opinion to that effect 22 and no admissible, credible documentary evidence suggests otherwise. In

fact, other than the 2003 Ordinance itself, possibly the most compelling evidence regarding the

amount of the 2003 levy is found in the 2013 Hunters Crossing LGC minutes, which reflect that

long before this dispute arose, the amount of the levy was publicly characterized as $11.962 million

dollars. 23 Moreover, George Hyde and Misty Ventura, whom the Plaintiffs refer to as the




17
        J-003 – 2003 Ordinance, p. 175 – “Section 2 – The City Council finds that the assessments as set
forth in the attached Assessment/Service Plan (Exhibit “B”) should be made and levied against the
respective parcels of property within the PID and against the owners thereof…”; J-004 – 2003 SAP, p.
COB003 – “Capital costs for commercial and multi-family infrastructure … will total approximately $7.365
million” and “Capital costs for single-family infrastructure … will total approximately $4.597 million.”
18
        Ayotte v. Planned Parenthood of N. New England, 546 U.S. 320, 330, 126 S. Ct. 961, 968, 163 L.
Ed. 2d 812 (2006).
19
        J-012 – 2019 Ordinance, p. COB3358-59; J022 – Singleton Report
20
        J-004 – 2003 SAP, p. COB003.
21
        J-012 – 2019 Ordinance, p. COB3358-59.
22
        Plaintiffs’ only expert, Chris Anderson, specifically disclaimed the ability to offer any “legal
opinions,” which would include an opinion on the amount actually levied based on statutory interpretation.
23
        J-013 – HCLGC Minutes 9/23/2013.
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“architects” of the 2019 Ordinance, both independently testified that though they disagreed on

many things during negotiations, the amount of the 2003 levy was never one of them.

        B.      Lack of Annual Service Plan Reviews

        8.      Though there should now be no doubt about the amount of the 2003 levy, the Court

understandably expressed concern during closing arguments about the City’s failure to prepare

and annually approve an ongoing service plan budget and what, if anything, could be done about

it. Tex. Loc. Gov’t Code Ann. §372.013. Defendants must point out now that two of the three

Plaintiffs actually participated as board members for Defendant HCLGC and would be complicit

in any failure to properly handle the SAP review. As Defendants pointed out during the trial, the,

the PID Act itself contains no “remedy” for a city’s failure to perform this mandatory annual

budget review. The PID Act plainly does not provide for waiver or invalidation of a valid levy (or

a portion thereof) for failure to conduct an annual service plan budget review. In fact, the PID Act

provides that an assessment, once validly levied, along with interest, collection expenses and

attorney’s fees is a first and prior lien against the property assessed, runs with the land, and remains

in effect until paid in full. Tex. Loc. Gov’t Code Ann. § 372.018.

        9.      Setting aside the obvious statute of limitation bar to claims challenging acts beyond

the two-year statute of limitations for Plaintiffs’ §1983 claim (or even the three-year Municipal

Validation Act limitation for any other state-law claims), 24 that still does not answer the Court’s

question – what is the effect of a city’s failure to perform this mandatory budget review and what

is the remedy, if any? From a remedial standpoint, the answer must be a timely application for a

writ of mandamus or affirmative injunction against a governmental official in their official




24
       Tex. Loc. Gov’t Code Ann. § 51.003.
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capacity to comply with state law for prospective injunctive relief only. 25 Under Texas law, there

can be no other remedy because the PID Act contains no express waiver of governmental immunity

and does not authorize a “money damage” award (i.e. reduction of a validly levied capital

assessment of $11.962 million).

        10.     From an effect standpoint, because there was no change in the amount of the capital

levy, there is no evidence that the City’s failure to perform an annual budget review prior to 2017,

resulted in any compensable damages to Plaintiffs. And because the only viable remedy under

state law is for prospective injunctive relief, logically, the ability to obtain even that relief expires

once a budget year has passed because at that point injunctive relief (e.g. an order to perform the

budget review and approval) becomes retrospective. 26 Without statutory or common law support,

Plaintiffs nonetheless argue that the City’s failure to conduct annual service plan budget approvals

prior to 2017 invalidates any “cost overruns” if they are not budgeted in the calendar year for

which they occurred, but this argument has absolutely no statutory support in the PID Act. While

the Act requires mandatory annual service plan reviews that define annual indebtedness and

projected costs for improvements, such annual reviews are only “for the purpose of determining

the annual budget for improvements.” 27

        11.     If the Legislature had intended that the failure to prepare an annual budget for

improvements meant that PID assessment liens, which are first and prior liens against the property

assessed, run with the land, and are effective until paid in full, were automatically extinguished (or

reduced by the amount of the “annual budget for improvements” for the year they were incurred),


25
        Chambers-Liberty Ctys. Navigation Dist. v. State, 575 S.W.3d 339, 348 (Tex. 2019) (governmental
immunity does not bar a suit that seeks to bring government officials into compliance with statutory or
constitutional provisions, but such a claim must be brought against government officials in their official
capacities and may only seek prospective injunctive relief).
26
        See id.
27
        Tex. Loc. Gov’t Code Ann. § 372.013.
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because of a failure to approve an annual improvement budget, it would have said so. But it did

not and once again, Plaintiffs’ argument is not legislative “interpretation,” but rather an attempt to

substitute what they want the law to be, rather than following the law that exists. There is simply

no plausible interpretation of the PID Act that suggests the Plaintiffs’ desired remedy is what the

Legislature enacted or intended, and Plaintiffs’ argument must be rejected.

        C.      Due Process and the “Increased” Levy and Lack of Budget Review

        12.     To satisfy substantive due process requirements, a governmental act cannot be

clearly arbitrary and unreasonable, but rather must be rationally related to a legitimate

governmental interest (such as the provision of public infrastructure improvements). 28 Under the

PID Act, because an assessment cannot be materially more than the special benefits accruing to a

property because of such an improvement (§372.015(a)), the City was required to adopt reasonable

classifications to apportion costs, such as per square foot, or any other manner resulting in equal

shares of the cost on similarly benefitted properties (§372.015(b), (c)). This is exactly what the

2003 Ordinance did in adopting per-square-foot and per-lot classifications based on land use. 29

        13.     Rather than increasing the 2003 levy, the 2019 Ordinance applied these respective

methodologies to the parcels in the PID based on how they actually developed. 30 No admissible,

credible evidence suggests that the apportionment methodology the City adopted was infirm and

no admissible, credible evidence suggests that it was improperly applied to Plaintiffs’ properties. 31


28
         FM Properties Operating Co. v. City of Austin, 93 F.3d 167, 174 (5th Cir. 1996) (government
action comports with substantive due process if action is rationally related to legitimate government
interest).
29
         J-003 – 2003 Ordinance, Plaintiffs 197-98; J-004 – 2003 SAP, p. COB51-52,
30
         J-012 – 2019 Ordinance, p. COB3353-54, 3359.
31
         Plaintiffs’ expert, Chris Anderson offered testimony that even if the 2003 levy was actually $11.962
million that the 2019 Ordinance increased Plaintiffs’ assessments by extending the time to make
installments and he testified on a chart reflecting such alleged increases. This is not credible opinion
testimony because the 2019 Ordinance expressly limits the total capital assessment to $11.962 million, and


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Instead, the great weight of the evidence reflects that the City levied a capital assessment totaling

$11.962 million in 2003 32 and that the 2019 Ordinance apportioned it based on actual parcels,33

which differed from the number and size of estimated parcels reflected in the 2003 SAP master

plan. 34

           14.   So, while the 2019 Ordinance (and associated 2019 Amended Developer

Reimbursement Agreement) did not “increase” the 2003 levy, they did perform several important

functions. First, in accordance with the mandatory requirement under the PID Act (§372.015) the

2019 Ordinance apportioned the capital assessment based on the special benefit received by each

property based on actual parcels and actual development. 35 Second, in accordance with the

discretion afforded to it under the PID Act (§372.017), the City extended the amount of time

property owners could make annual (interest free) installments to pay each property’s apportioned

assessment. 36 Had the City not extended the time to make interest-free installments on outstanding

assessments, such assessments do not “expire” or get “written off” – property owners would have




only apportioned it between properties and extended the amount of time property owners may make
installments, interest free. (J-012). Moreover, Plaintiffs never offered a methodology to explain how
Anderson arrived at his numbers, which purport to show “increases,” other than to explain that one of
Anderson’s underlying assumptions is that the PID “ended” in 2028 and that any outstanding unpaid
assessment would be “written off” as explained in the Kesselus Q&A (Plaintiff Exhibit 39).
        The Kesselus Q&A contains obvious misstatements of law because PIDs do not “end” and if
Anderson had read the PID Act (he had not) he would have known that PID assessment liens run with the
land and are effective until paid and that outstanding unpaid assessments are not written off or erased at the
end of an installment term. Unpaid amounts remain due and owing. Tex. Loc. Gov’t Code Ann. §372.018.
Anderson’s failure to read the PID Act, which would explain his erroneous belief that the 2019 Ordinance
increased assessments by extending the length of the installment term, explains his reliance on emails
between George Hyde and Misty Ventura, for example, and demonstrates the weight that the Court should
afford his opinions.
32
        J-003 – 2003 Ordinance/SAP, p. 175, 181.
33
        J-012 – 2019 Ordinance, p. COB3353.
34
        J-004 – 2003 SAP, p. COB030.
35
        J-012 – 2019 Ordinance, p. COB3353-54, 3357-59, and Exhibit F to 2019 SAP. The City
apportioned the assessment based on square footage for commercial and multi-family and per lot for single-
family.
36
        J-012 – 2019 Ordinance, p. COB3361-62.
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simply had to pay remaining amounts apportioned to their properties in lump sum (or face the

prospect of penalties, interest, collection efforts, etc.) (§372.018).

        15.     Third, because the 2019 Ordinance provided that the total assessment related to the

costs of capital improvements could not be increased above the 2003 levy, 37 the 2019 Amended

Developer Reimbursement Agreement clarified that the developer (Defendant TF Hunters

Crossing) is entitled to a maximum capital reimbursement amount of $11,961,260. 38 Fourth, the

Reimbursement Agreement clarified that interest on the principal levy of $11.962 million is

waived and cancelled so long as no owner challenges the allocation of PID assessments and

outstanding reimbursement amounts owed to the Developer are paid in accordance with the

Amended Developer Reimbursement Agreement. 39

        16.     Taken together, there is simply no credible evidence that the 2019 Ordinance

“increased” the 2003 levy and Plaintiffs’ expert’s opinion that it did is not credible because that

opinion (and associated calculations) are premised on the erroneous belief that the PID would

“end” in 2028. 40 Moreover, in cross examination, Plaintiffs’ expert admitted that the 25-year

period for each property was dependent upon when it was sold to its first ultimate user. This

admission further erodes the credibility of his belief that the PID “expires” and is on a fixed 25-

year period that ends in 2028. In contrast, Defendants’ expert, Patrick Bourne, explained how and

why the 2019 Ordinance did not increase the amount of the 2003 levy and he accounted for

apparent (though not actual) adjustments to apportionments from 2003 to 2019 because the 2003

“apportionments” were estimated and not based on actual square footage of actual parcels or the



37
         J-012 – 2019 Ordinance, p. 3349. See definition of “Annual Installment.”
38
         J-011 – 2019 Amended Reimbursement Agreement, p. Plaintiffs 309.
39
         J-011 – 2019 Amended Reimbursement Agreement, p. Plaintiffs 309.
40
         Because there was no “increase” in the levy, Plaintiffs’ state “retroactive law” claim is without
legal or factual foundation.
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actual number of single-family lots that were ultimately built. Thus, because there was no

“increase” in the amount of the 2003 levy, Plaintiffs have no cognizable damages protected by the

14th Amendment.

        17.     This, however, does not end the Court’s analysis. Even if there is no state law

remedy for the failure to conduct an annual budget review under the PID Act as previously

discussed, that does not mean that there is no remedy under the Constitution if the City’s failure

to perform the budget review violates the 14th Amendment. But even if such a claim were timely

under the two-year statute of limitations for §1983 claims in Texas (it is not), the City’s failure to

conduct annual service plan reviews for the purpose of adopting budgets for improvements prior

to 2017 41 is only proof of its failure to follow state law, assuming that its delegation of this function

to the Hunters Crossing LGC was not authorized by the PID Act. Assuming without conceding

that the PID Act does not authorize the City to delegate the annual budget approval function to the

Hunters Crossing LGC, such a violation of state law, standing alone, 42 is insufficient to state a

constitutional claim under the Fourteenth Amendment. 43




41
         Though the City itself did not formally consider and approve annual budgets prior to 2017, it had
delegated that function to the Hunters Crossing LGC (see J-020, 021), which did consider and approve
annual budgets for the PID in duly noticed open meetings from 2013 to 2016 (See J-013, 014, 015, 016,
017, 018, 019). Defendants have previously briefed the Court in their Motion for Summary Judgment (Doc.
#71) on why the City could believe that such a delegation was proper under the PID Act at the time.
However, even if the Court concludes that the City’s interpretation of the PID Act’s authority to delegate
certain functions to another body was an incorrect interpretation of Texas law, the City’s incorrect
interpretation of state law is insufficient to establish a constitutional claim under the 14th Amendment
because it improperly bootstraps state law into the Constitution. FM Properties Operating Co., 93 F.3d at
174.
42
         The reason this issue “stands alone” is because the amount of the 2003 levy was not increased or
altered because of the capital cost overruns. Compare J-003 with J-012 and J-022.
43
         Id.
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       18.     Finally, insofar as procedural due process is concerned, Plaintiffs all had actual or

constructive notice of the existence of the Hunters Crossing PID and their respective apportioned

assessments. The 2003 Ordinance was filed in the County (J-005), Lirtex and the Village at

Hunters Crossing had notice of its existence in their deeds (J-025, J-026, J-027). And while Smith

testified that she was not informed of the PID’s existence at closing when she purchased her home,

even though the 2003 Ordinance had been filed in the County deed records (J-005) and the levy

was existing at the time she purchased her property, the City had no control over the disclosures

provided to her at closing and her lack of subjective awareness of the PID, even if true, in no way

invalidates a validly levied PID assessment. Moreover, Smith and Carlos Liriano (Lirtex

representative) were ultimately members of the Hunters Crossing Local Government Corporation

and had actual notice of the capital assessment years before they filed a lawsuit against the City.

Additionally, when the City adopted the 2019 Ordinance, it held a town hall meeting, and two

public hearings where members of the public offered input (Ex. D-7). Notice and an opportunity

to be heard prior to the adoption of the 2019 Ordinance were abundant.

                                         II. CONCLUSION

       19.     The 2003 Ordinance levied a capital assessment totaling $11.962 million. The 2019

Ordinance apportioned that lump-sum assessment on the basis of special benefits received by each

actual parcel. The 2019 Ordinance did not increase the 2003 levy. The City’s failure to conduct

annual budget reviews prior to 2017 does not and cannot invalidate the 2003 levy. Each Plaintiffs’

capital assessment was validly apportioned, runs with the land, and a lien remains on the property

until that assessment is fully paid. The Plaintiffs have not met their burden on any asserted claim.




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                                    Respectfully submitted,
                                    RUSSELL RODRIGUEZ HYDE BULLOCK, LLP
                                    1633 Williams Drive, Bldg. 2, Suite 200
                                    Georgetown, Texas 78628
                                    512-930-1317 (ph)
                                    866-929-1641 (fax)
                                    ghyde@txlocalgovlaw.com
                                    bbullock@txlocalgovlaw.com

                                    By: /s/ Bradford E. Bullock
                                    GEORGE E. HYDE
                                    State Bar No. 45006157
                                    BRADFORD E. BULLOCK
                                    State Bar No. 00793423

                                    ATTORNEYS FOR THE CITY OF BASTROP,
                                    TEXAS; CONNIE SCHROEDER; WILLE
                                    LEWIS “BILL” PETERSON; DRUSILLA
                                    ROGERS; LYLE NELSON; BILL ENNIS;
                                    DOCK JACKSON; TREY JOB; RICK
                                    WOMBLE; MICHELLE DODSON; AND
                                    TABITHA PUCEK


                                    By:/s/ Jeffrey J. Hobbs with permission
                                    Michael J. Whellan
                                    Jeffrey J. Hobbs
                                    State Bar No. 24012837
                                    Armbrust & Brown, PLLC
                                    100 Congress Avenue, Suite 1300
                                    Austin, Texas 78701
                                    mwhellan@abaustin.com
                                    jhobbs@abaustin.com
                                    Tel: (512) 435-2300
                                    Fax: (512) 435-2360

                                    ATTORNEYS FOR DEFENDANT
                                    TF HUNTERS CROSSING, L.P.




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                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy the foregoing pleading was served according to the
Federal Rules of Civil Procedure on all parties of record in the manner specified below on the 4th
day of June 2021, as follows:

Richard D. Milvenan                                 Via e-filing and e-mail
McGinnis Lochridge LLP
600 Congress Avenue, Suite 2100
Austin, Texas 78701
rmilvenan@mcginnislaw.com
Tel: (512) 495-6005
Fax: (512) 505-6305

ATTORNEYS FOR PLAINTIFF

Carl ‘Bo’ Dawson                                    Via e-filing and e-mail
Ryan & Dawson
770 South Post Oak Lane, Suite 600
Houston, Texas 77056
cdawson@rdlaw.com
Tel: (713) 960- 1555
Fax: (713) 960-8497

ATTORNEY FOR DEFENDANT
FORESTAR (USA) REAL ESTATE
GROUP, INC.




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